UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                                   Plaintiff,                            Index No.: 15 Cr 333
                 vs.

GERY SHALON,                                                             MOTION TO WITHDRAW
a/k/a "Garri Shalelashvili,"
a/k/a "Gabriel,"
a/k/a "Gabi,"
a/k/a "Phillipe Mousset,"
a/k/a "Christopher Engeham,"
JOSHUA SAMUEL AARON,
a/k/a "Mike Shields," and
ZIV ORENSTEIN,
a/k/a "Aviv Stein,"
a/k/a "John Avery,"
                                   Defendants
-------------------------------------------------------------------- X
        Igor Litvak, Esq. hereby moves to withdraw as counsel of record for Defendant GERY

SHALON

        Counsel moves this Court before the Honorable Laura Taylor Swain, United States

District Judge of the United States District Court for SOUTHERN DISTRICT OF NEW YORK

located at 500 Pearl St. New York, NY 10007-1312 for order to be issued pursuant to New York

Local Civil Rule 1.4 permitting counsel Igor Litvak to withdraw from representation of

Defendant Gery Shalon and such other and further relief that the Court sees as just and proper.


Dated: February 2, 2018
       Brooklyn, New York
                                                     /s/ Igor Litvak, Esq.
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